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BIBLE CHURCH

2104 Trimble RD ‘Edgewood, MD 21040 (410) 299-9813

 

AFFIDAVIT OF JOHNNY HUDSON, PASTOR

 

I do solemnly swear or a firm, on this 4" day of May 2020, that the following is true and correct
to the best of my knowledge, information, and belief:

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I, John H Hudson Jr., am a legal resident of the state of Maryland, residing in Edgewood
all 42 years of my life. I reside at 2042 Kenny Ct., Edgewood, MD, 21040, where my
wife and I have been living since July 17, 2009. My wife and I have two sons, an eight-
year-old and a five-year-old.

I am a born-again Christian that trusted Jesus Christ as his Savior on October 4, 1995,
and have been actively serving in the ministry since. I am both licensed and ordained;
I am in my 25" year of ministering to people from all over the country, most recently
starting Family Bible Church of Edgewood Maryland, June 15, 2018 (EIN: 83-
0904864).

Family Bible Church, when not restricted, performs worship services multiple times of
the week, reaching out to members of the community ranging from newborn on up.
The extended ordered lockdown set in place by Gov. Larry Hogan of the state of
Maryland not only violates our First Amendment right, but it is also unconstitutional.
Although we have been utilizing modern technology well before the shelter in place
mandate took effect, this does not come close to allowing us the God-given freedom
that our founding fathers built our nation upon. Hebrews 10:25 (KJV) says, “Not
forsaking the assembling of ourselves together, as the manner of some 1s; but exhorting
one another: and so much the more, as ye see the day approaching.”

The executive order also prohibits us from observing the two ordinances of the Church:
baptism and the Lord supper. God gives the command that upon salvation, a person
must be baptized by immersion in first steps of obedience to Him. | John 2:3 says,
“And hereby we do know that we know him, if we keep his commandments.” The last
commandments that Jesus gave the Church were to spread the gospel, see people trust
Christ as their Savior, baptize them, and follow through with teaching them the things
of God through discipleship (Matthew 28:18-20). Acts 2:41 says, “Then they that
gladly received his word were baptized: and the same day there were added unto them
about three thousand souls.”

This unconstitutional extended time of the lockdown has led to our members struggling
spiritually, emotionally, and even financially. Scripture commands us to bear one
another’s burdens. Therefore this 1s prohibiting us from fulfilling the law of Christ.
Galatians 6:2 says, “Bear ye one another’s burdens, and so fulfil the law of Christ.”

As a born-again believer that is a permanent resident of this great country, I believe we
should submit to elected officials, government leaders, and all law enforcement and
military officials as they are our God-given civil authorities. However, when earthly
power becomes contrary to the Word of God, we must obey Him and not other men

(Acts 4:19; 5:29; Deuteronomy 13:4).

On a personal level, this unconstitutional extended lockdown hinders me from being a
successful member of my society. I was born with physical limitations that include
missing both arms and deformed legs and feet. I have one foot (on the nght side) that I
have adapted to use as a hand, and likewise, I also use my mouth as a hand. I use an
electric wheelchair for mobility that I control using my foot. My wheelchair gives me
the liberty to come and go on my own without the need for assistance from others. My
wheelchair has a mounted device where I keep my 1Phone. Furthermore, I also can
enter into my 2015 Dodge Grand Caravan and drive wherever I need or even want.

I understand and respect the intentions of Gov. Hogan and all of our nation’s leaders.
However, mandating wearing masks in public places takes away my freedoms as an
American. Wearing a mask prohibits me from safely and adequately using my cell
phone, driving my vehicle, and even performing simple everyday tasks that others take
for granted.

Ae H Hudson, Jr., ator
